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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION




  CHRISTIAN AYALA,
                                                        )
                                                        )
                                       Plaintiff,       )
                                                        )
  vs.                                                   )   No.: 1:16-cv-01266-TWP-DLP
                                                        )
  BUTLER UNIVERSITY, et al.,                            )
                                                        )
                                       Defendants.      )
                                                        )

                                    NOTICE OF APPEAL

         NOTICE IS HEREBY GIVEN that the Plaintiff, CHRISTIAN AYALA (“Plaintiff”) by and

  through undersigned counsel, hereby appeals to the United States Circuit Court of Appeals for the

  Seventh Circuit from a Final Judgment [DE-161] entered following the entry of an Order granting

  Defendants’ Motion for Summary Judgment. [DE-160]. Both the Order granting Summary

  Judgment, and the Final Judgment, were entered on October 19, 2018. Appellant further appeals the

  interlocutory order [DE-108] entered on January 08, 2018, denying Plaintiff’s Motion to Continue

  Proceeding Anonymously [DE-62].




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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served by e-service

  this 19th day of November, 2018 using the Court’s CM-ECF service on all counsel of record.

                                                     Respectfully submitted,

                                                     ANDREW M. KASSIER, P.A.
                                                     Dickman Building
                                                     4500 Lejeune Road
                                                     Miami, Florida 33130
                                                     (305)-662-1000 tel
                                                     (305)-661-0909 fax
                                                     kassiera@aol.com

                                             BY:      s/Andrew M. Kassier
                                                     ANDREW M. KASSIER, ESQ.
                                                     (Fla. Bar No. 316547)

                                                     Attorneys for Plaintiff




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